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                       Case 2:11-cr-00768-BRM                                 Document 170                   Filed 07/09/12                           Page 1 of 1 PageID: 278
         CJA 20 APPOINTMENT OF AND
                                   AUTH

                                               j2.
                                                         ORITY TO PAY COURT APPO
                                                                                         INTED COUNSEL
                      CJRJDIST.I DiV CODE                                                                 {5 991
            1.                                        PERSON REPRESENTED
                                                                                                                                            VOUCHER NUMBER

         3.        MAG. DKT./DEF. NUMBER
                                                             I4 f)IST. DKT./DEF. NUMBER                     5. APPEALS DKT
                                                          1’_jjli2,,_1b’L_LI_c_/                                           JDE                F. NUMBER              6.   OTHER DKT. NUM
         7.        iN CASE/MATTER OF (Case                                                                                                                                                     BER
                                                     Nam) 8. PAYMENT CATEGORY
         (1:s,                                fr              Felony
                                                                                                            9    TYPE PERSON REPRES
                                                                                     El Petty Offense WAdult Defendant                                 ENTED
                                                                                                                                        10. REPRESENTATIO
                                                                                                                                                            N TYPE
                                                                [J
                                                                 Misdemeanor         [J Other                               El Appellant (See Instructions)
                                                                                                      C] Juvenile Defendant El
         11. OF           NSIti) UI1A1tUtIJ (Cite U.S. Cod
                                                              [JAppeal
                                                                     e, Title & Section) If more than
                                                                                                      ElOther
                                                                                                                               Appellee

                                                                                                          one offense, list (up to five)
                                                                                                                                                 /7
                                                                                                                                                                                   (
         a4 Ccn?L*t( c d                                         ‘b’pss
                                                                                                                                               major offenses charged, acco
                                                                                                                                                                               rding to severity of offense.
        12. ATTORNEY’S NAME (First Nam                                                                                    2(: fi
                 AND MAILING ADDRES


            4-n /],vJf (.
                                               S
                                                        e, ML, Last Name, including any suffix)
                                                                                                      ,    13. COURT ORDER
                                                                                                           ,,,O Appointing Cou
                                                                                                            El F Subs For Federal Defender
                                                                                                                                              nsel
                                                                                                                                                                      El C Co-Counsel
                                                                                                                                                                                        t,,J
                                                                                                                                                                                                   /
                                                                                                            El P Subs For Panel Attorney                              El R Subs For Retained Atty.
                                                                                                                                                                      Ely Standby Counsel
                                                                                                             Prior Attorney’s Name:

              Telephone Number:
        14. NAME AN]) MAILING ADDRES OF
                                    S
                                        (9 1 ) & A 7                                                               App




                                                                                                           El Because the above-named P°
                                                                                                                         ointm
                                                                                                                                    ent
                                                                                                                                          Date




                                                                                                           otherwise satisfied this Court that
                                                                                                                                               :




                                                                                                                                                                  has testified under oath
                                                                                                                                                                                               or
            instructions)               LAW FIRM (Only provide per                                         and (2) does not wish to waive counheor she (1) Is financially unable to employ counhassel
                                                                                                                                               sel, and because the inter
                                                                                                                                                                          ests of justice so require,
            z)/f (,, L J(                                                                                  case, OR
                                                                                                           El Other(S       I   I     twos)

            C /I& /fats                                    iu/ /               /k29                                     Sigsat of                  mg Jud sal OffIcer or By
                                                                                                                                                                            Oed r of   the Court
                                                   -‘            a//C ;L                                                 flat    Order
                                                                                                          Repayment or partial repa                           Nune Pro snc Date
                                                                                                          at time of appointment. yment ordered from the person represented for this service
                                                                                                                                                      El ris El NO
                      CATEGORIES (Aitach itemization of servi                                             TOTAL   MATH)TECII.
                                                                       ces with dates)             HOUR
                                                                                                   .ADJUST                                                         MATH/TECH.
                                                                                                  CLAIMED          ED                                              ADJUSTED           ADDITIONAL
                  a. Arraignment and)or Plea                                                              LAIME])  HO
                 b. Bail and Detention Hearings
         .. a.          Motion Hearings

                 d. Trial
        C)       e.    Sentencing Hearings

                 f.    Revocation Hearings
                 g.    Appeals Court

                 h. Other (Specify on additional sheets)
  —
  16.
              a. Interviews and Conferen
              h. Obtaining and reviewing
                                         ces                                                                                                                I
                                          reco            rds
        Q     c.       Legal research and brief writi
                                                           ng
              d. Travel time
             e.       Investigative and other work
                                                          (Specify on 1
                                                                      additional_sheets)                                                                        -,,... -..

                                                                                                                   s
  17.        Travel Expenses (lodging, park
                                                     ing, meals, mileage, etc.)
 18.         Other Expenses (other than
                                                   expert, transcripts, etc.)
                                                                                                  -
 19. CERTIFICATION OF ATT
                                            ORNEY/PAYEE FOR THE PER
                                                                                   IOD Ott SERVICE
                                                                                                                20.APPOINTMENTTER
                                                                                                                                   MINATIONDATE 21.
        FRO
                                                                                                                   IF OTHER THAN CASE               CASE DISPOSITION
                                                                                                                                      COMPLETION
                 M:




                                                                 TO:
 22. CLAIM STATUS
                                   C] Final Payment                   C] Interim
    Rave you previously applied to the court for compensation and/or reimburs Payment Number
    Other than from the Court, have you, or
                                              to your know ledg
                                                                               ement for this case?
                                                                                                    C] YES El NO                          El Supplemental Payment
                                                                                                                           If yes, were you paid?
    representation?                                             e has anyone else, recei
                      El YES       El  NO If yes, give details on additional sheets. ved payment (compensation or anything of vtse) from any othe El YES El NO
     I swear or affirm the truth or corre                                                                                                        r source In connection with this
                                                ctness of the above state                ments.

    Signature of Attorney
                                                                                                                                                     Date
23. IN COURT COMB

28. SIGNATURE OF THE PRESIDI
                                        J   24. OUT OF COURT COME

                                               NG JUDICIAL OFFICER
                                                                                   25. TRAVEL EXPENSES
                                                                                                                        26. OTHER EXPENSES
                                                                                                                                                                  27. TOT. AMT. APPIL/CERT
                                                                                                                                                                                               .
                                                                                                                        DATE
                                                                                                                                                                  28a. JUDGEIMAG. JUDGE COD
29.IN COURT COMB                                                                                                                                                                                       E
                                        j30.OUTOFCOURTCOME                         31.TRAVEL EXPENSES
                                                                                                                       32.OTHER EXPENSES
                                                                                                                                                                  33.TOTALAMTAPPROVEI)
34. SIGNATURE OF CHIEF JUDGE,
                                        COURT OF APPEALS (OR DEL
    approved in excess of the statutory thres
                                              hold amount.       EGATE) Payment                                        DATE
                                                                                                                                                                  34a. JUDGE CODE
